
In re: Darrel Eugene Todd applying for Writs of Certiorari, Prohibition, Mandamus and a Stay Order.
Granted. See Order
The petition of the relator in the above entitled and numbered case having been duly- considered,
It is ordered that a Writ of Certiorari issue herein, directing the Honorable Jerome M. Winsberg Judge of the Criminal District Court for the Parish of Orleans, to transmit to the Supreme Court of Louisiana, on or before the 8th day of February, 1974, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 10th day of May, 1974, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
